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15
16
17                   THE UNITED STATES DISTRICT COURT
18                FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
20
     SETH SHAPIRO,                        Case No. 2:19-cv-8972
21
22               Plaintiff,               CONSUMERS LEGAL REMEDIES
           v.                             ACT VENUE AFFIDAVIT
23
                                          [CCP § 1780(d)]
24   AT&T MOBILITY, LLC.
25               Defendant.
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28
30
                                CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1-10 Filed 10/17/19 Page 2 of 3 Page ID #:277




 1    I.    NATURE OF THE ACTION
 2   I, Seth Shapiro, declare and state as follows:
 3          1.    I am the plaintiff in this action.
 4          2.    I make this affidavit as required by California Civil Code § 1780(d).
 5          3.    The Complaint in this action is filed in a proper place for trial because
 6   Defendant conducts substantial business in Los Angeles County, California.
 7          4.    The Complaint in this action is further filed in a proper place for trial
 8   because the transactions that are the subject of this action occurred in Los Angeles
 9   County, California.
10          5.    I am a citizen of the State of California, County of Los Angeles.
11
12          I declare under penalty of perjury under the laws of the United States that
13   the foregoing is true and correct.
14         Executed this 15 day of October, 2019 at Los Angeles, California.
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17
                                              Seth Shapiro
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                           CLASS ACTION COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 1-10 Filed 10/17/19 Page 3 of 3 Page ID #:278




 1   Dated: October 15 2019                 Respectfully submitted,

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 3
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                       CLASS ACTION COMPLAINT
